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                                    I N T H E U NI T E D S T A T E S B A N K R U P T C Y C O U R T
                                       F O R T H E S O U T H E R N DI S T RI C T O F T E X A S
                                                     H O U S T O N DI VI SI O N


                                                                                             B a n kr u pt c y
     I n re
                                                                                             C as e N o. 2 2- 3 3 5 5 3 ( C M L)
     Al e x a n d er E. J o n es,
                                                                                             C h a pt er 1 1
                           D e bt or,

     D a vi d W h e el er, Fr a n ci n e W h e el er, J a c q u eli n e
     B ar d e n, M ar k B ar d e n, Ni c ol e H o c kl e y, I a n H o c kl e y,
                                                                                             A d v. Pr o. N o.: 2 2- 0 3 0 3 7 ( C M L)
     J e n nif er H e ns el, D o n n a S ot o, C arl e e S ot o P arisi,
     C arl os M. S ot o, Jilli a n S ot o- M ari n o, Willi a m
     Al d e n b er g, Willi a m S h erl a c h, R o b ert P ar k er, a n d
     Ri c h ar d M. C o a n, as C h a pt er 7 Tr ust e e f or t h e
     Est at e of Eri c a L aff ert y
                           Pl ai ntiff s,
                v.
     Al e x a n d er E. J o n es a n d Fr e e S p e e c h S yst e ms, L L C,
                           D ef e n d a nt s.


                          P L AI N TI F F S’ M O TI O N F O R S U M M A R Y J U D G M E N T

                                            N O TI C E P U R S U A N T T O L R 9 0 1 3 - 1:

       T his m oti o n s e e ks a n or d er t h at m a y a d v ers el y aff e ct y o u. If y o u o p p os e t h e m oti o n, y o u
     s h o ul d i m m e di at el y c o nt a ct t h e m o vi n g p art y t o r es ol v e t h e dis p ut e. If y o u a n d t h e m o vi n g
    p art y c a n n ot a gr e e, y o u m ust fil e a r es p o ns e a n d s e n d a c o p y t o t h e m o vi n g p art y. Y o u m ust
  fil e a n d s er v e y o ur r es p o ns e wit hi n 2 1 d a ys of t h e d at e t his w as s er v e d o n y o u. Y o ur r es p o ns e
 m ust st at e w h y t h e m oti o n s h o ul d n ot b e gr a nt e d. If y o u d o n ot fil e a ti m el y r es p o ns e, t h e r eli ef
   m a y b e gr a nt e d wit h o ut f urt h er n oti c e t o y o u. If y o u o p p os e t h e m oti o n a n d h a v e n ot r e a c h e d
   a n a gr e e m e nt, y o u m ust att e n d t h e h e ari n g. U nl ess t h e p arti es a gr e e ot h er wis e, t h e c o urt m a y
                 c o nsi d er e vi d e n c e at t h e h e ari n g a n d m a y d e ci d e t h e m oti o n at t h e h e ari n g.


           Pl ai ntiffs D a vi d        W h e el er, Fr a n ci n e   W h e el er, J a c q u eli n e B ar d e n,   M ar k B ar d e n, Ni c ol e

H o c kl e y, I a n H o c kl e y, J e n nif er H e ns el, D o n n a S ot o, C arl e e S ot o P arisi, C arl os M. S ot o, Jilli a n

S ot o- M ari n o,   Willi a m Al d e n b er g,        Willi a m S h erl a c h, R o b ert P ar k er, a n d Ri c h ar d M. C o a n, as

c h a pt er 7 tr ust e e f or t h e est at e of Eri c a L aff ert y h er e b y m o v e f or s u m m ar y j u d g m e nt f or a
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d e cl ar at or y j u d g m e nt t h at t h e $ 1, 4 3 8, 1 3 9, 5 5 6 d e bt o w e d t o t h e m fr o m t h e j u d g m e nts e nt er e d i n

t h e t hr e e c o ns oli d at e d c as es of L aff ert y, et al. v. J o n es, et al. , C as e N o. X 0 6-U W Y -C V -1 8 -

6 0 4 6 4 3 6 -S, i n t h e S u p eri or C o urt of C o n n e cti c ut, J u di ci al Distri ct of            W at er b ur y; S h erl a c h v.

J o n es, et al. , C as e N o. X 0 6-U W Y -C V -1 8 -6 0 4 6 4 3 7 -S, i n t h e S u p eri or C o urt of C o n n e cti c ut,

J u di ci al Distri ct of W at er b ur y; a n d S h erl a c h, et al. v. J o n es, et al. , C as e N o. X 0 6-U W Y -C V -1 8 -

6 0 4 6 4 3 8 6 -S, i n t h e S u p eri or C o urt of C o n n e cti c ut, J u di ci al Distri ct of                  W at er b ur y, is n ot

dis c h ar g e a bl e p urs u a nt t o 1 1 U. S. C. § 5 2 3( a)( 6) .

           F or t h e r e as o ns m or e f ull y s et f ort h i n t h e M e m or a n d u m of L a w i n S u p p ort of Pl ai ntiffs’

M oti o n f or S u m m ar y J u d g m e nt , St at e m e nt of U n c o nt est e d M at eri al F a cts i n S u p p ort of Pl ai ntiffs’

M oti o n f or S u m m ar y J u d g m e nt, a n d t h e D e cl ar ati o n of Ali n or C. St erli n g i n S u p p ort of Pl ai ntiffs’

M oti o n f or S u m m ar y J u d g m e nt, all         att a c h e d h er et o, Pl ai ntiffs pr a y t h at t h e C o urt gr a nt t h eir

m oti o n, iss u e a n or d er d e cl ari n g t h at t h e j u d g m e nts ar e n ot dis c h ar g e a bl e , a n d gr a nt all ot h er r eli ef

t h e C o urt d e e ms a p pr o pri at e u n d er t h e cir c u mst a n c es.




                                                                      2
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                                                             R es p e ctf ull y s u b mitt e d,


C AI N & S K A R N U LI S P L L C                                     K O S K O F F K O S K O F F & BI E D E R P C
B y: /s/ R y a n E. C h a p pl e                                      Ali n or C. St erli n g ( a d mitt e d pr o h a c vi c e )
R y a n E. C h a p pl e                                               3 5 0 F airfi el d A v e n u e
St at e B ar N o. 2 4 0 3 6 3 5 4                                     Bri d g e p ort, C o n n e cti c ut 0 6 6 0 4
3 0 3 C ol or a d o Str e et, S uit e 2 8 5 0                         T el e p h o n e: ( 2 0 3) 3 3 6- 4 4 2 1
A usti n, T e x as 7 8 7 0 1
T el e p h o n e: ( 5 1 2) 4 7 7- 5 0 0 0                             C o u ns el t o t h e S a n d y H o o k F a mili es Ot h er
F a x: ( 5 1 2) 4 7 7- 5 0 1 1                                        T h a n Ri c h ar d M. C o a n, as C h a pt er 7 Tr ust e e
                                                                      f or t h e Est at e of Eri c a L aff ert y
C o u ns el t o t h e S a n d y H o o k F a mili es




P A U L, W EI S S, RI F KI N D,                                       Z EI S L E R & Z EI S L E R, P C
W H A R T O N & G A R RI S O N L L P                                  Eri c H e n z y (a d mitt e d pr o h a c vi c e )
K yl e J. Ki m pl er ( a d mitt e d pr o h a c vi c e )               1 0 Mi d dl e Str e et, 1 5 t h Fl o or
C hrist o p h er H o p ki ns ( a d mitt e d pr o h a c vi c e )       Bri d g e p ort, C o n n e cti c ut 0 6 6 0 4
D a ni el S. Si n nr ei c h ( a d mitt e d pr o h a c vi c e )        T el e p h o n e: ( 2 0 3) 3 6 8- 5 4 9 5
D a ni el A. N e gl ess ( a d mitt e d pr o h a c vi c e )
Bri a n a P. S h eri d a n ( a d mitt e d pr o h a c vi c e )         C o u ns el t o Ri c h ar d M. C o a n, as C h a pt er 7
1 2 8 5 A v e n u e of t h e A m eri c as                             Tr ust e e f or t h e Est at e of Eri c a L aff ert y
N e w Y or k, N e w Y or k 1 0 0 1 9- 6 0 6 4
T el e p h o n e: ( 2 1 2) 3 7 3- 3 0 0 0
F a x: ( 2 1 2) 7 5 7- 3 9 9 0

C o u ns el t o t h e S a n d y H o o k F a mili es Ot h er
T h a n Ri c h ar d M. C o a n, as C h a pt er 7 Tr ust e e
f or t h e Est at e of Eri c a L aff ert y




                                                                  3
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                                               C E R TI FI C A T E O F S E R VI C E

           I h er e b y c ertif y t h at a tr u e a n d c orr e ct c o p y of t h e f or e g oi n g i nstr u m e nt w as fil e d a n d s er v e d

o n all p ers o ns e ntitl e d t o r e c ei v e n oti c e vi a o p er ati o n of t his C o urt’s C M/ E C F s yst e m o n M a y 1 2,

2 0 2 3.


                                                                  /s/ R y a n E. C h a p pl e
                                                                  R y a n E. C h a p pl e
